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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Western District
                                                       __________       of Washington
                                                                  District of __________

                   United States of America                             )
                              v.                                        )
                       WAYLAN GRAVES
                                                                        )      Case No.      CR23-5287-DGE
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                        Part I - Eligibility for Detention

     Upon the

               ✔ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
               u
               u Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  u A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
         u (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             u (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             u (b) an offense for which the maximum sentence is life imprisonment or death; or
             u (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             u (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                jurisdiction had existed, or a combination of such offenses; or
             u (e) any felony that is not otherwise a crime of violence but involves:
                (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
         u (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
           § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
           to Federal jurisdiction had existed; and
         u (3) the offense described in paragraph (2) above for which the defendant has been convicted was
           committed while the defendant was on release pending trial for a Federal, State, or local offense; and
         u (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
           defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

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   ✔ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
   u
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         u✔ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         u✔ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         u (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         u (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         u (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   u C. Conclusions Regarding Applicability of Any Presumption Established Above

            u The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. 3DUW,,,QHHGQRWEHFRPSOHWHG

                OR

            ✔ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
            u
              presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
   u
     the safety of any other person and the community.

   ✔ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
   u
     the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       u Weight of evidence against the defendant is strong
       u Subject to lengthy period of incarceration if convicted
       ✔ Prior criminal history
       u
       ✔ Participation in criminal activity while on EDLO
       u
       ✔ History of violence or use of weapons
       u
       ✔ History of alcohol or substance abuse
       u
       ✔ Lack of stable employment
       u
       u Lack of stable residence
       u Lack of financially responsible sureties


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        u Lack of significant community or family ties to this district
        u Significant family or other ties outside the United States
        u Lack of legal status in the United States
        u Subject to removal or deportation after serving any period of incarceration
        ✔ Prior failure to appear in court as ordered
        u
        u Prior attempt(s) to evade law enforcement
        u Use of alias(es) or false documents
        u Background information unknown or unverified
        u Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
 While on bail for a Thurston County case in June through September 2023, defendant allegedly committed additional drug crimes in
 Lewis County. See Dkt. 17, supplemental pretrial report, pages 2, 9. Defendant has multiple felony convictions, and multiple failures to
 appear. See Dkt. 7, criminal history, supplemental pretrial report, pages 4-9. The government proffered, during the hearing concerning
 detention or release, that the current offense involves a large quantity of fentanyl, an extraordinarily dangerous controlled substance,
 and also a number of weapons. Dkt. 1, Indictment. Defendant's criminal history includes a conviction for domestic violence assault and
 convictions for violations of restraining orders. See Dkt. 7, supplemental pretrial report at 4 (domestic violence conviction), 5, 6
 (restraining order violations).

 Although the defendant proffered evidence (Dkt. 14, and during the hearing) that he would be able to reside with a friend, and would
 potentially have an interest in pursuing drug treatment, the Court weighed the factors in 18 U.S.C. Section 3142 (g), and finds there is
 no condition, or combination of conditions that would reasonably assure that Mr. Graves would appear for Court proceedings, or that
 would mitigate the risk of danger to others or the community. Mr. Graves' history of failure to appear has been shown by a
 preponderance of evidence, and the current indictment for possession of drugs with intent to distribute that includes a large quantity of
 fentanyl, and weapons, along with his lengthy criminal record, shows by clear and convincing evidence that he would pose a severe
 risk of danger. Even with treatment, and a stable residence, the pretrial services professionals would not reasonably be in a position to
 prevent him from fleeing or engaging in criminal conduct.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:                 10/30/2023
                                                                                United
                                                                                U it d St
                                                                                       States
                                                                                          t Magistrate
                                                                                              M i t t Judge
                                                                                                       J d




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